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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO



                                                 )
Gloria Mitchell                                  )
                                                 )
                   Plaintiff,                         Case Number: 1:16−cv−00076−BLW
                                                 )
                                                 )
          v.                                     )
                                                 )
Winco Foods LLC                                  )
                                                 )
                  Defendant.                     )

                     NOTICE OF FILING OF OFFICIAL TRANSCRIPT



        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above−captioned matter. The parties have five (5) business days
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terminal.




DATED: 10/12/2019                                     Stephen W. Kenyon ,Clerk
